Case 1:21-cv-03214-LMM Document 83-1 Filed 10/11/23 Page 1 of 34




        EXHIBIT
          "A"
         Case 1:21-cv-03214-LMM Document 83-1 Filed 10/11/23 Page 2 of 34




                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

    KINSALE INSURANCE COMPANY,               )
                                             )
         Plaintiff,                          )   CIVIL ACTION FILE NO:
                                             )   1:21-cv-03214-LMM
    v.                                       )
                                             )   DISPOSITIVE MOTION
    VENETIAN HILLS APARTMENTS,               )
    LLC, JOHN MAUGHAN, and MARIE             )
    HUGHES, as Authorized Administrator      )
    for the Estate of GEORGE HUGHES,         )
                                             )
         Defendants.

KINSALE INSURANCE COMPANY’S BRIEF IN SUPPORT OF ITS MOTION
              FOR FINAL SUMMARY JUDGMENT

         KINSALE INSURANCE COMPANY (“Kinsale”), pursuant to Fed. R. Civ.

P. 56 and LR 56, NDGa., files this brief in support of its motion for final summary

judgment against VENETIAN HILLS APARTMENTS, LLC (“Venetian”) and

MARIE HUGHES, as Authorized Administrator for the Estate of GEORGE

HUGHES (“Estate”),1 and in support states:




1Kinsale also filed suit against John Maughan in this action. Maughan is not
addressed in this brief because he was dropped from the underlying lawsuit. The
parties have also stipulated that Kinsale’s claims against Maughan are now moot.
[Dkt. No. 82.]
      Case 1:21-cv-03214-LMM Document 83-1 Filed 10/11/23 Page 3 of 34




                                INTRODUCTION

      This coverage dispute arises from the underlying lawsuit by the Estate

(“Underlying Lawsuit”) against Venetian over an arson fire at the Venetian Hills

Apartments complex (“Premises”) that killed George Hughes. It is undisputed the

fire was an act of criminal arson by Kamara Wheeler, who is presently sitting in

prison. The Estate sued Venetian in an operative, amended complaint

(“Underlying Complaint”) for failing to maintain the Premises in a safe condition.

The Underlying Complaint is silent regarding the cause of the fire.

      Kinsale does not have a duty to defend for two reasons.

      I.    The Policy has a Failure to Maintain Exclusion that expressly
            excludes coverage for any alleged failure to maintain the Premises in a
            safe or habitable condition, which is the entire basis for the
            Underlying Complaint. Defendants have never articulated a coherent
            argument on why the exclusion does not apply.

      II.   The Policy has an Assault and Battery Exclusion and it is undisputed
            that the fire was caused by arson. The Underlying Complaint does not
            allege anything to the contrary and the facts surrounding the crimes
            by Kamara Wheeler are undisputed.

                ARGUMENT AND CITATION OF AUTHORITY

      Summary Judgment Standard: Summary judgment is proper when “there

is no genuine issue as to any material fact and the moving party is entitled to

judgment as a matter of law.” Fed. R. Civ. P. 56(c). To determine whether there is

no genuine issue of material fact and that the moving party is entitled to judgment

as a matter of law, the Court must examine “materials in the record, including


                                   Page 2 of 24
         Case 1:21-cv-03214-LMM Document 83-1 Filed 10/11/23 Page 4 of 34




depositions,    documents,    electronically      stored   information,   affidavits   or

declarations, stipulations (including those made for purposes of the motion only);

admissions, interrogatory answers, or other materials.” Fed. R. Civ. P. 56(c)(1)(A).

The interpretation of an insurance policy is a matter of law and can be decided on

summary judgment. Maxum Indem. Co. v. Jimenez, 734 S.E.2d 499, 501 (Ga. Ct. App.

2012).

         Duty to Defend: An insurer’s duty to defend is generally determined by

comparing the allegations of the complaint against the insured with the provisions

of the policy. Fireman’s Fund Ins. Co. v. Univ. of Ga. Athletic Ass’n, Inc., 654 S.E.2d

207, 209 (Ga. Ct. App. 2007). If a lawsuit against an insured falls within the scope

of an exclusion, there is no duty to defend. See Penn-Am. Ins. Co. v. Disabled Am.

Veterans, Inc., 490 S.E.2d 374, 376 (Ga. 1997).

         Enforcing Policy Language: Under Georgia law, construction of an

insurance contract is a matter of law for the court. Jimenez, 734 S.E.2d at 501. Courts

look to the text of the insurance policy for the outcome. Georgia Farm Bureau Mut.

Ins. v. Smith, 784 S.E.2d 422, 424 (Ga. 2016). If a provision is unambiguous, it must

be enforced as written. See Zurich Am. Ins. Co. v. Omni Health Sols., LLC, 774 S.E.2d

782, 784 (Ga. Ct. App. 2015) (“Unambiguous terms of an insurance policy require

no construction, and the plain meaning of such terms must be given full effect,

regardless of whether they might be beneficial to the insurer or detrimental to the



                                     Page 3 of 24
         Case 1:21-cv-03214-LMM Document 83-1 Filed 10/11/23 Page 5 of 34




insured.”); Scottsdale Ins. Co. v. Great Am. Assur. Co., 610 S.E.2d 558, 560 (Ga. Ct.

App. 2005) (“Construction of an insurance policy is governed by the ordinary rules

of contract construction, and when the terms of a written contract are clear and

unambiguous, the court is to look to the contract alone to find the parties’ intent.”).

The same logic applies to exclusions. See Nationwide Mut. Fire v. Somers, 591 S.E.2d

430, 434 (Ga. Ct. App. 2003). That is because insurers are “free to fix the terms of

its policies as it sees fit, so long as they are not contrary to law, and it may insure

against certain risks while excluding others.” Owners Ins. v. Smith Mech.

Contractors, Inc., 670 S.E.2d 213, 215 (Ga. Ct. App. 2008), aff’d, 683 S.E.2d 599 (Ga.

2009).

  I.     THERE IS NO DUTY TO DEFEND UNDER THE FAILURE TO
         MAINTAIN EXCLUSION.

         As a matter of law, the Failure to Maintain Exclusion applies because the

Estate sued Venetian for failing to maintain the Premises in a safe condition. By its

plain language, the exclusion bars coverage for “any claim or ‘suit’ for ‘bodily

injury’ … arising directly or indirectly out of, related to, or, in any way involving:”

(1) “[a]ny failure to maintain any premises in, or restore any premises to a safe,

sanitary, healthy, habitable and tenantable condition;” or (2) “[a]ny actual or

alleged violation, whether or not intended to cause injury or damage, of: …[a]ny

Housing and Urban Development laws, ordinances or statutes; … or




                                     Page 4 of 24
      Case 1:21-cv-03214-LMM Document 83-1 Filed 10/11/23 Page 6 of 34




administrative rules or regulations pertaining to [the preceding], including but not

limited to those promulgated by local authorities.” [Policy, Dkt. No. 1-6, at 51.]

      A.   The Failure to Maintain Exclusion Bars Coverage For Claims
           Involving Georgia’s Statutory Warranty Of Habitability.

      The Failure to Maintain Exclusion is designed to bar coverage for not only

claims involving failure to maintain a premises in a safe condition, but also claims

of habitability. Indeed, it applies to “[a]ny failure to maintain any premises in, or

restore any premises to a safe, sanitary, healthy, habitable and tenantable

condition,” which mirrors the general definition for the warranty of habitability.

Notably, a majority of states have adopted the implied warranty of habitability for

residential leases, either by statute or case law. Georgia is the same.

      Georgia codified the warranty of habitability in O.C.G.A. § 44-7-13, which

requires a landlord to “keep the premises in repair.” The Supreme Court of

Georgia addressed that statute in Thompson v. Crownover, 381 S.E.2d 283 (Ga. 1989).

That case involved burns sustained by a tenant from flames emanating from a

deteriorating gas heater. Id. at 283-84. In Thompson, the Supreme Court of Georgia

recognized that the legislature’s finding that “people with low incomes are forced

to live in unsafe housing and that such living conditions constitute a menace to the

health and safety of all the residents of Georgia.” Id. at 284. The Court also

recognized that the statutory warranty of habitability was enacted to advance

several public policies, including imposing liability on landlords for “defective


                                    Page 5 of 24
      Case 1:21-cv-03214-LMM Document 83-1 Filed 10/11/23 Page 7 of 34




construction and failure to keep … premises in repair;” and “an equally strong and

important public policy in favor of preventing unsafe residential housing.” Id. at

285. Georgia’s public policy also mirrors the following rule from The Restatement

of Law (Second), Property, § 17.6, which provides:

      A landlord [should be] subject to liability for physical harm caused to
      the tenant and others upon the leased property with the consent of
      the tenant or his subtenants by a dangerous condition existing before
      or arising after the tenant has taken possession, if he has failed to
      exercise reasonable care to repair the condition and the existence of
      the condition is in violation of:

             (1)    an implied warranty of habitability; or

             (2)    a duty created by statute or administrative
                    regulation.

Thompson, 381 S.E.2d at 285. The guidance from Thompson is clear—landlords in

Georgia owe their tenants duties of repair and habitability under O.C.G.A. § 44-7-

13.

      B.   The Failure To Maintain Exclusion Applies.

      The Failure to Maintain Exclusion applies to any lawsuit with any

connection whatsoever to failure to maintain a premises in a safe and habitable

condition. The exclusion includes the broadest possible lead-in language available

in any insurance policy—“arising out of, related to, or, in any way involving.”

      The “in any way involving” lead-in phrase is so broad it is commonly referred

to as a “mop up” clause because it comes in and excludes everything that was not



                                     Page 6 of 24
      Case 1:21-cv-03214-LMM Document 83-1 Filed 10/11/23 Page 8 of 34




already excluded by the other phrases. See RLI Ins. Co. v. Coastline Title of Pinellas,

LLC, 591 F. Supp. 3d 1182, 1189--90 (M.D. Fla. 2022) (holding “in any way involving”

is a mop-up clause intended to exclude anything not already excluded by the other

clauses) (quoting Clark Sch. For Creative Learning, Inc. v. Phila. Indem. Ins. Co., 734

F.3d 51, 56 (1st Cir. 2013)). That “language is extremely broad in scope, and it

indicates that the provision applies to any claim even remotely involving” an

excluded cause of loss. Westchester Gen. Hosp., Inc. v. Evanston Ins. Co., 48 F.4th

1298, 1303 (11th Cir. 2022). See also Health First, Inc. v. Capitol Specialty Ins. Corp.,

747 F. App’x 744, 751 (11th Cir. 2018) (the phrase only requires a “tenuous

connection” to some excluded cause of loss) (quoting Vozzcom, Inc. v. Great Am.

Ins. Co., 666 F. Supp. 2d 1332, 1340 (S.D. Fla. 2009)); W3i Mobile, LLC v. Westchester

Fire Ins. Co., 632 F.3d 432, 437 (8th Cir. 2011) (the phrase “incorporates all

reasonable definitions of the word ‘involving,’ including those not requiring a

causal connection, such as ‘to have within or as part of itself.’”); Colorado Boxed Beef

Co. v. Evanston Ins. Co., No. 8:18-cv-01237, 2018 WL 5312026, at *2 (M.D. Fla. Oct.

26, 2018) (“the phrase … is broad as a term of regular English usage, and courts

have so noted.”); Nat’l Bank of California v. Progressive Cas. Ins. Co., 938 F. Supp. 2d

919, 931 (C.D. Cal. 2013) (observing that the phrase is intended “to maximally

expand the enumerated categories of acts” when used in an exclusion).




                                     Page 7 of 24
       Case 1:21-cv-03214-LMM Document 83-1 Filed 10/11/23 Page 9 of 34




      The other phrase, “arising directly or indirectly out of,” is also quite broad and

“encompasses almost any causal connection or relationship.” Citizens Ins. Co. of

Am. v. Banyan Tree Mgmt., LLC, 631 F. Supp. 3d 1256, 1272–73 (N.D. Ga. 2022), aff’d,

No. 22-13581, 2023 WL 6319224 (11th Cir. Sept. 28, 2023) (quoting Barrett v. Nat’l

Union Fire Ins. Co. of Pittsburgh, 696 S.E.2d 326, 331 (Ga. Ct. App. 2010)).

      Similarly, the last lead-in phrase, “related to,” means “[c]onnected in some

way; having relationship to or with something else.” Prelutsky v. Greater Georgia

Life Ins. Co., 692 F. App’x 969, 973 n. 6 (11th Cir. 2017).

      Here, the Underlying Complaint alleges Venetian breached its statutory

duty of habitability under O.C.G.A. § 44-7-13, and that it failed to keep the

Premises in a safe condition under O.C.G.A. § 51-3-1. Venetian allegedly violated

both statutes by “not hav[ing] proper fire detection and fire suppression

equipment, required by applicable codes and regulations.” [Underlying

Complaint, Dkt. No. 1-5, at 1.] See Carey v. Bradford, 461 S.E.2d 290, 291 (Ga. Ct.

App. 1995) (observing that the two statutes are not mutually exclusive where a

party was sued as a landlord for breaching the “statutory duty to keep premises

in repair [under OCGA § 44–7–13]” and for failing “to exercise ordinary care in

keeping the premises and approaches safe” under OCGA § 51–3–1).

      Similar exclusions have been routinely enforced in other jurisdictions. See,

e.g., 24th & Hoffman Invs., LLC v. Northfield Ins. Co., 82 Cal. App. 5th 825, 839 (2022),



                                      Page 8 of 24
      Case 1:21-cv-03214-LMM Document 83-1 Filed 10/11/23 Page 10 of 34




review denied (Dec. 14, 2022) (habitability exclusion applied not only to the

habitability claims, but also claims unrelated to habitability because of the

exclusion’s broad language); Northfield Ins. Co. v. Hudani, No. 220CV01695SBEX,

2021 WL 3556672, at *7 (C.D. Cal. Mar. 16, 2021) (“The habitability exclusion in the

policy in this case plainly excludes claims against the insured for failing to

maintain a premise in a habitable condition and to other claims asserted in a

lawsuit alleging inhabitability.”); Riverport Ins. Co. v. Oakland Cmty. Hous., C 08-

3883 VRW, 2009 WL 2058239, at *1 (N.D. Cal. July 13, 2009) (habitability exclusion

barred coverage for alleged breach of warranty of habitability, negligent

maintenance, intentional infliction of emotional distress, intentional nuisance,

violation of statutory duty, and conversion); Burlington Ins. Co. v. Affordable Hous.

Alternatives, Inc., 2:14-CV-00733-ABC, 2014 WL 3611644, at *2 (CD. Cal. July 11,

2014) (habitability exclusion applied to “claims concerning the actual or alleged

failure … to keep any portion of the insured premises in a habitable or tenantable

condition.”).

      Because of the broad lead-in language, the Failure to Maintain Exclusion

applies so long as there is any allegation Venetian failed to maintain the Premises

in a safe and habitable condition. Kinsale does not have a duty to defend because

that is the entire basis for the Underlying Lawsuit by the Estate against Venetian.




                                    Page 9 of 24
      Case 1:21-cv-03214-LMM Document 83-1 Filed 10/11/23 Page 11 of 34




See Penn-Am. Ins. Co., 490 S.E.2d at 565. Kinsale is entitled to final summary

judgment.2

    II. THERE IS NO DUTY TO DEFEND UNDER THE ASSAULT AND
        BATTERY EXCLUSION.

      The Assault and Battery Exclusion broadly excludes coverage for “‘bodily

injury[]’ … arising out of, related to, or, in any way involving any actual or alleged

assault, battery, harmful or offensive contact, or threat, whether provoked or

unprovoked … regardless of fault or intent and regardless of the particular cause

of action.” [Policy, Dkt. No. 1-6, at 40.] Like the Failure to Maintain Exclusion, the

Assault and battery Exclusion includes the same lead-in language: “arising out of,

related to, or, in any way involving.” The exclusion applies so long as there is the

slightest or more remote connection to excluded conduct.

      Wheeler has pled guilty to arson and voluntary manslaughter for killing

Hughes. The Venetian and Hughes do not (and cannot) argue against this

undisputed fact.

      A.   Similar Assault And Battery Exclusions Are Routinely Enforced.

      Under Georgia law, courts routinely enforce assault and battery exclusions.

See, e.g., First Specialty Ins. Corp., Inc. v. Flowers, 644 S.E.2d 453, 455 (Ga. Ct. App.




2The defenses raised by Kinsale are independently dispositive. If the Court agrees
with Kinsale on any one defense, it need not address the others. Conversely, for
Venetian and the Estate to prevail, they must defeat all of Kinsale’s defenses.


                                     Page 10 of 24
      Case 1:21-cv-03214-LMM Document 83-1 Filed 10/11/23 Page 12 of 34




2007) (applying an assault and battery exclusion to a lawsuit alleging the insured

apartment complex “failed to take reasonable steps to keep the … premises safe”

from a shooting); Eady v. Capitol Indem. Corp., 502 S.E.2d 514, 516 (Ga. Ct. App.

1998) (applying exclusion to a lawsuit alleging the insured bar was liable for

injuries from a shooting because the insured allegedly failed to keep the premises

safe); Boomer’s, Inc. v. Whitney, 486 S.E.2d 59, 60-61 (Ga. Ct. App. 1997) (similar);

Dynamic Cleaning Serv., Inc. v. First Fin. Ins. Co., 430 S.E.2d 33, 34-35 (1993) (Ga. Ct.

App. 1993) (similar); Capitol Indem., Inc. v. Brown, 581 S.E.2d 339, 342-43 (Ga. Ct.

App. 2003) (similar); Nautilus Ins. Co. v. EJIII Dev. Co., No. 1:17-CV-2048-TCB, 2018

WL 3524639, at *3 (N.D. Ga. July 19, 2018) (similar).

      Whether an assault and battery exclusion applies to arson is a matter of first

impression in Georgia, but other jurisdictions have clearly held it applies. See

Mount Vernon Fire Ins. v. Oxnard Hosp. Enter., Inc., 219 Cal. App. 4th 876 (2013).

      In Mount Vernon Fire Ins. Corp., the insurer argued an assault and battery

exclusion barred coverage for the claimant’s allegations that she was injured when

“a third party threw a glass full of a flammable liquid on her and set her on fire[.]”

Id. at 878. In pertinent part, the exclusion defined a “battery” as “physical contact

with another without consent.” Id. Based on this definition, the insured argued

that “direct ‘body-to-body’ contact” was required to trigger the exclusion. The




                                     Page 11 of 24
       Case 1:21-cv-03214-LMM Document 83-1 Filed 10/11/23 Page 13 of 34




court disagreed because setting someone on fire necessarily included unwanted

“striking or touching.” Id.

       B.   Wheeler’s Guilty Plea And Venetian’s Admissions Establish The
            Fire Was Caused By Criminal Arson.

       Hughes and Venetian attempt to avoid the Assault and Battery Exclusion

by arguing the Underlying Complaint is silent; that is, despite the fact that she is

sitting in prison for her crimes, that the pleading does not allege how the fire

started, much less mention anything about Wheeler. Despite their attempts to

obfuscate, the following facts are undisputed:

      On March 18, 2017, Wheeler was arrested for murder and arson in
       connection with the fire. [Kinsale Complaint, Dkt. No. 1, at 4; Venetian
       Answer to Kinsale’s Complaint, Dkt. No. 12, at 8; Hughes Answer to
       Kinsale Complaint, Dkt. No. 24, at 7.]

      On July 14, 2017, the State of Georgia filed a criminal indictment against
       Wheeler for murder, felony murder, and four counts of arson. [Indictment,
       Dkt. No. 1-2; Kinsale Complaint, Dkt. No. 1, at 4; Venetian Answer to
       Kinsale Complaint, Dkt. No. 12, at 8; Hughes Answer to Kinsale
       Complaint, Dkt. No. 24, at 7.]

      On March 31, 2021, Wheeler pled guilty to voluntary manslaughter under
       O.C.G.A. § 16-5-2, as a lesser included offense of the murder charge against
       her, and four counts of arson under O.C.G.A. § 16-7-60. [Guilty Plea Final
       Disposition Form in Criminal Action, Dkt. No. 81-6; Kinsale Complaint,
       Dkt. No. 1, at 4-5; Venetian Answer to Kinsale Complaint, Dkt. No. 12, at 8;
       Hughes Answer to Kinsale Complaint, Dkt. No. 24, at 8.]

      As part of her guilty plea, Wheeler is required to serve a total of 25 Years
       in prison, with the first 20 Years in confinement and the remainder to be
       served on probation. [Guilty Plea Final Disposition Form in Criminal
       Action, Dkt. No. 81-6.]




                                    Page 12 of 24
       Case 1:21-cv-03214-LMM Document 83-1 Filed 10/11/23 Page 14 of 34




      As a special condition of probation, Wheeler was also ordered to
       successfully complete an arson program. [Guilty Plea Final Disposition
       Form in Criminal Action, Dkt. No. 81-6.]

      During the guilty plea proceeding, the court specifically found “there to be
       a factual basis for the plea in each of these indictments[.]” [Transcript of
       Wheeler Guilty Plea Proceeding, Dkt. No. 81-6, at 23:19-23.]3

      On March 12, 2019, the Estate filed the Underlying Lawsuit against
       Venetian and John Maughan over the same fire that Wheeler confessed to
       starting intentionally.

      After her guilty plea, Wheeler testified in the Underlying Lawsuit that she
       intentionally started the fire. [Transcript of Wheeler Guilty Plea
       Proceeding, Dkt. No. 81-7, at 23:19-23.]

      In the Underlying Lawsuit, Venetian’s principal defense has always been
       that Venetian is not responsible for the fire because it was intentionally
       started by Wheeler. [Transcript of Maughan Deposition in Underlying
       Lawsuit on December 18, 2019, Dkt. No. 81-1, at 20:15-17;4 Venetian
       Response to First Set of Interrogatories in Underlying Lawsuit, Dkt. No.
       81-9, at 5, 8, 10, 11; Venetian Supplemental Response to First Set of
       Interrogatories in Underlying Lawsuit, Dkt. No. 81-10; at 6; Maughan
       Response to First Set of Interrogatories in Underlying Lawsuit, Dkt. No.
       81-11; at 5, 8, 10, 11; Maughan Supplemental Response to First Set of
       Interrogatories in Underlying Lawsuit, Dkt. No. 81-12; at 6; Venetian
       Response to First Request for Admissions in Underlying Lawsuit, Dkt. No.
       81-13, at 5.]

      One of Venetian’s principal defenses in the Underlying Lawsuit is that the
       jury should be permitted to apportion fault to Wheeler as a non-party
       because she intentionally started the fire. [Venetian Notice of Intent to
       Apportion Damages to Wheeler in the Underlying Lawsuit, Dkt. No. 81-14,


3 Pursuant to the Court’s Standing Order Regarding Civil Litigation, any pages of

the “Transcript of Wheeler Guilty Plea Proceeding” cited in this brief are attached
as Exhibit “1.”
4 Pursuant to the Court’s Standing Order Regarding Civil Litigation, any pages of

the “Transcript of Maughan Deposition in Underlying Lawsuit on December 18,
2019” cited in this brief are attached as Exhibit “2.”


                                   Page 13 of 24
       Case 1:21-cv-03214-LMM Document 83-1 Filed 10/11/23 Page 15 of 34




       at 1-2; Venetian Motion for Apportionment Ruling in the Underlying
       Lawsuit, Dkt. No. 81-15; Venetian Renewed Motion to Allow
       Apportionment Against Wheeler in the Underlying Lawsuit, Dkt. No. 81-
       16.]

      In the instant action, Venetian similarly testified that Wheeler intentionally
       started the fire. [Transcript of Venetian Deposition in the Instant Action on
       September 18, 2023, Dkt. No. 81-3, at 13:4-13, 13:21-14:3.]5

       Wheeler pled guilty to voluntary manslaughter under O.C.G.A. § 16-5-2,

which provides: “A person commits the offense of voluntary manslaughter when

he causes the death of another human being under circumstances which would

otherwise be murder and if he acts solely as the result of a sudden, violent, and

irresistible passion resulting from serious provocation sufficient to excite such

passion in a reasonable person[.]”

       In turn, the four arson convictions are governed by O.C.G.A. § 16-7-60,

which provides:

       A person commits the offense of arson in the first degree when, by
       means of fire or explosive, he or she knowingly damages or
       knowingly causes, aids, abets, advises, encourages, hires, counsels, or
       procures another to damage:

       (1)   Any dwelling house of another without his or her consent or in
             which another has a security interest, including but not limited
             to a mortgage, a lien, or a conveyance to secure debt, without
             the consent of both, whether it is occupied, unoccupied, or
             vacant;


5 Pursuant to the Court’s Standing Order Regarding Civil Litigation, any pages of

the “Transcript of Venetian Deposition in the Instant Action” cited in this brief are
attached as Exhibit “3.”


                                     Page 14 of 24
      Case 1:21-cv-03214-LMM Document 83-1 Filed 10/11/23 Page 16 of 34




      (2)    Any building, vehicle, railroad car, watercraft, or other
             structure of another without his or her consent or in which
             another has a security interest, including but not limited to a
             mortgage, a lien, or a conveyance to secure debt, without the
             consent of both, if such structure is designed for use as a
             dwelling, whether it is occupied, unoccupied, or vacant; …

      (5)    Any building, vehicle, railroad car, watercraft, aircraft, or other
             structure under such circumstances that it is reasonably
             foreseeable that human life might be endangered.

      Wheeler’s guilty plea constitutes an admission that she committed the

underlying crimes of voluntary manslaughter and arson, which can be considered

by the Court. See Harden v. State Farm Fire & Cas. Co., 605 S.E.2d 37, 38-39 (Ga. Ct.

App. 2004) (finding State Farm had no duty to defend or to indemnify under an

intentional acts exclusion based on evidence of an insured’s entry of an Alford plea6

to a charge of child molestation); Fuller v. Mercury Ins. Co. of Georgia, No. 1:13-CV-

1914-TWT, 2017 WL 395693, at *2 (N.D. Ga. Jan. 30, 2017), aff'd, 708 F. App’x 637

(11th Cir. 2018) (holding an insured’s guilty plea in a separate criminal action was

prima facie evidence of excluded conduct in coverage litigation because: “Georgia

courts and the Eleventh Circuit have been abundantly clear.”).




6 An Alford plea “is one of guilt [under a claim of innocence] and may be accepted

only if the court determines there is a factual basis for a determination of guilt.”
Argot v. State, 583 S.E.2d 246, 248-49 (Ga. Ct. App. 2003). “[T]he collateral
consequences flowing from an Alford plea are the same as those flowing from an
ordinary plea of guilt.” Id. at 248.


                                    Page 15 of 24
      Case 1:21-cv-03214-LMM Document 83-1 Filed 10/11/23 Page 17 of 34




      An Alford plea is the same as a guilty plea, and can be used as evidence in

subsequent civil proceedings. … As long as the plea was voluntary and had a

sufficient factual basis, “the collateral consequences flowing from an Alford plea

are the same as those flowing from an ordinary plea of guilt.”); Centennial Ins. Co.

v. Johnson, No. 1:07-CV-1885-MHS, 2008 WL 11336791, at *5 (N.D. Ga. Oct. 28, 2008)

(“[T]he Court agrees with plaintiff that evidence of Johnny Johnson's guilty plea

for battery in the State Court of Cobb County is admissible for the purpose of

adjudicating a motion for summary judgment[.]”); Merritt v. State Farm Fire & Cas.

Co., 463 S.E.2d 42, 44-46 (Ga. Ct. App. 1995) (considering evidence of an insured’s

plea of guilty but mentally ill to one count of murder as prima facie evidence that

the insured’s actions fell within an exclusion to coverage for willful and malicious

acts); Trustgard Ins. Co. v. Herndon, 790 S.E.2d 115, 119 (Ga. Ct. App. 2016)

(considering an insured’s guilty plea to a shooting in concluding that an insurer

did not owe coverage under an intentional acts exclusion); State Farm Fire & Cas.

Co. v. Moss, 441 S.E.2d 809, 810-11 (Ga. Ct. App. 1994) (same for guilty plea to

aggravated assault charge); Woods v. Allied Van Lines, Inc., 730 S.E.2d 35, 37 (Ga.

Ct. App. 2012) (admitting the guilty plea of a non-party as an admission against

interest). See also Scottsdale Ins. Co. v. GWF Phillips Lodge No. 691, No. 1:08-CV-94

(WLS), 2009 WL 10673435, at *4 (M.D. Ga. Sept. 30, 2009) (entering summary

judgment for insurer on the duty to defend because an uninsured assailant “was



                                   Page 16 of 24
      Case 1:21-cv-03214-LMM Document 83-1 Filed 10/11/23 Page 18 of 34




found guilty by a Georgia court of assault and battery”); Blohm v. Comm’r, 994 F.2d

1542, 1554 (11th Cir.1993) (concluding the defendant’s conviction for tax evasion

based on an Alford plea collaterally estopped the defendant from denying tax

liability). Accordingly, in the instant case, Wheeler’s guilty plea is admissible

evidence establishing that the fire was an excluded act of arson.

      The decision in Harden dealt with an Alford plea. 605 S.E.2d at 38. State Farm

argued it did not have a duty to defend a claim involving sexual molestation

against a husband or a claim for negligent supervision against the husband’s wife.

Id. at 37-38. State Farm relied on an exclusion for injuries that were expected or

intended. Id. at 38. State Farm argued the exclusion applied to the wife because the

negligent supervision claims against her were derivative of the claim against the

husband. Id. at 39.

      The court entered summary judgment for State Farm by finding it did not

have a duty to defend the husband or the wife. In the process, the court relied

heavily on the Alford plea. Id. at 38-39. The court observed:

      it is undisputed that the alleged facts provided the basis for a guilty
      plea entered by Ronald Harden to the criminal charge of child
      molestation. … Harden’s guilty plea under Alford placed him in the
      same position as if he had been convicted of child molestation, and
      “the collateral consequences flowing from an Alford plea are the same
      as those flowing from an ordinary plea of guilt.” Accordingly,
      evidence that Ronald Harden entered an Alford plea of guilt to child
      molestation was sufficient to establish a prima facie case that State
      Farm had no duty under the terms of the policy to provide coverage
      or a defense to Mr. Harden.


                                   Page 17 of 24
       Case 1:21-cv-03214-LMM Document 83-1 Filed 10/11/23 Page 19 of 34




Id. at 38.

The court also held that State Farm did not have a duty to defend the wife because

the negligent supervision claim against her “was necessarily ‘the result of’ Ronald

Harden’s alleged acts of sexual abuse, because there would be no claim against

Beverly Harden but for Ronald Harden’s alleged acts.” Id. at 39.

       Even beyond Wheeler’s criminal conviction, Venetian is bound by its

admissions that the fire was an act of arson by Wheeler. “Judicial admissions are

‘formal concessions in the pleadings, or stipulations by a party or its counsel, that

are binding upon the party making them.’” Langdale Co. v. Nat’l Union Fire Ins. Co.,

110 F. Supp. 3d 1285, 1293–94 (N.D. Ga. 2014), aff’d, 609 F. App’x 578 (11th Cir.

2015) (quoting In re Malia, No. 09–42273, 2012 WL 909738, *2 (Bankr. N.D. Ga. Feb.

8, 2012). Judicial admissions are “formal concessions in the pleadings, or

stipulations by a party or its counsel, that are binding upon the party making

them.” Keller v. U.S., 58 F.3d 1194, 1199 n. 8 (7th Cir. 1995). Judicial admissions

must be clear, deliberate, and unequivocal factual assertions—whether made in

pleadings, stipulations, responses to discovery, or orally in trial or court

proceedings. In re Jones, 197 B.R. 949, 956 (Bankr. M.D. Ga. 1996). See also James

River Ins. Co. v. Fortress Sys., 899 F. Supp. 2d 1331, 1334 (S.D. Fla. 2012) (applying

judicial estoppel against a purported insured for taking one position in the

underlying action and another position in the ensuing coverage action).



                                    Page 18 of 24
      Case 1:21-cv-03214-LMM Document 83-1 Filed 10/11/23 Page 20 of 34




      Venetian has always maintained that it is not responsible because

the fire was intentionally started by Wheeler. [Transcript of Maughan Deposition

in Underlying Lawsuit on December 18, 2019, Dkt. No. 81-1, at 20:5-17;7 Venetian

Response to First Set of Interrogatories in Underlying Lawsuit, Dkt. No. 81-9, at 5,

8, 10, 11; Venetian Supplemental Response to First Set of Interrogatories in

Underlying Lawsuit, Dkt. No. 81-10; at 6; Maughan Response to First Set of

Interrogatories in Underlying Lawsuit, Dkt. No. 81-11; at 5, 8, 10, 11; Maughan

Supplemental Response to First Set of Interrogatories in Underlying Lawsuit, Dkt.

No. 81-12; at 6; Venetian Response to First Request for Admissions in Underlying

Lawsuit, Dkt. No. 81-13, at 5.]

      Indeed, one of Venetian’s principal defenses is that the jury should be

permitted to apportion fault to Wheeler as a non-party because she intentionally

started the fire. [Venetian Notice of Intent to Apportion Damages to Wheeler in

the Underlying Lawsuit, Dkt. No. 81-14, at 1-2; Venetian Motion for

Apportionment Ruling in the Underlying Lawsuit, Dkt. No. 81-15; Venetian

Renewed Motion to Allow Apportionment Against Wheeler in the Underlying

Lawsuit, Dkt. No. 81-16.] Venetian has similarly testified that Wheeler

intentionally started the fire in the instant action. [Transcript of Venetian


7 Pursuant to the Court’s Standing Order Regarding Civil Litigation, any pages of

the “Transcript of Maughan Deposition in Underlying Lawsuit on December 18,
2019” cited in this brief are attached as Exhibit “2.”


                                   Page 19 of 24
      Case 1:21-cv-03214-LMM Document 83-1 Filed 10/11/23 Page 21 of 34




Deposition in the Instant Action on September 18, 2023, Dkt. No. 81-3, at 13:4-13,

13:21-14:3; see also Exhibit 3.]

       During its deposition in this action, Venetian conceded it should have

admitted Wheeler intentionally started the fire in its answer to Kinsale’s

complaint. [Transcript of Venetian Deposition in the Instant Action on September

18, 2023, Dkt. No. 81-3, at 13:4-13, 13:21-14:3; 17:9-18:25; see also Exhibit 3.] This case

could have been resolved years ago if Venetian simply responded truthfully to

Kinsale’s Complaint.

       Venetian should not be rewarded for violating its pleading obligations. See

Fed. R. Civ. P. 11(b)(4) (requiring litigations and their attorneys to ensure “denials

of factual contentions are warranted on the evidence or, if specifically so identified,

are reasonably based on belief or a lack of information.”).

       Venetian’s judicial admissions are binding and establish the Assault and

Battery Exclusion applies.

       C.   Hughes and Venetian’s Defenses Lack Merit.

            i.   The Assault and Battery Exclusion does not require that Venetian
                 itself committed the excluded act.

       The Assault and Battery Exclusion applies if there is even the slightest

connection to excluded conduct, and “regardless of fault or intent and regardless

of the particular cause of action” or “ whether caused by, or at the instigation,

instruction, direction or due to the negligence of the insured, the insured’s


                                      Page 20 of 24
      Case 1:21-cv-03214-LMM Document 83-1 Filed 10/11/23 Page 22 of 34




employees, agents, patrons, customers or any other person arising from any causes

whatsoever[.]” Venetian and Hughes argue the policy language should be ignored

and instead construed as requiring an insured to commit an excluded act. But,

courts routinely reject similar arguments under Georgia law. See, e.g., Brown, 581

S.E.2d at 342-43 (Ga. Ct. App. 2003); Dynamic Cleaning Serv., Inc., 430 S.E.2d at 34-

35; Flowers, 644 S.E.2d at 455; Boomer’s, Inc. v. Whitney, 486 S.E.2d 59, 60-61 (Ga. Ct.

App. 1997); Capitol Indem. Corp. v. L. Carter Post 4472 Veterans of Foreign Wars, Inc.,

484 S.E.2d 52, 54 (Ga. Ct. App. 1997).

       Flowers, 644 S.E.2d, dealt with a similar exclusion. The court reviewed the

language of the exclusion and observed that “[i]nclusion of the phrase ‘whether or

not’ is significant and makes clear that the exclusion is intended to apply to all

instances of assault and battery occurring on the Lakewood premises.” Id. at 456.

The court held that, “[b]y its clear terms, the assault and battery exclusion at issue

here applies to any claim or suit for bodily injury or death arising out of an assault

and battery committed on the Lakewood premises, regardless of who committed the

assault and battery.” Id. at 455.

       Stated simply, the Assault and Battery Exclusion applies regardless of who

committed the excluded act.




                                    Page 21 of 24
      Case 1:21-cv-03214-LMM Document 83-1 Filed 10/11/23 Page 23 of 34




           ii. The Assault and Battery Exclusion unambiguously applies
               to arson.

      Hughes and Venetian have argued the Assault and Battery Exclusion is

ambiguous because the average person would not read the exclusion as

encompassing arson and voluntary manslaughter. That argument is belied by the

plain language of the exclusion, which applies to any “harmful or offensive

contact, or threat.” [Policy, Dkt. No. 1-6, at 40.] Moreover, the exclusion applies

whenever “‘bodily injury’ … arises out of a chain of events that includes assault,

battery, harmful or offensive conduct, or threat regardless of whether the assault,

battery, harmful or offensive contact, or threat is the initial precipitating event or

is in any way a cause of the ‘bodily injury’[.]” [Policy, Dkt. No. 1-6, at 40.] In other

words, the Assault and Battery Exclusion applies so long as there is “harmful or

offensive contact.”

      Being burned to death in an attack of arson clearly constitutes a harmful or

offensive contact. Under the defendants’ logic, an assault or battery exclusion

would not apply to shooting claims because both arson and a shooting involve an

act (pulling a trigger or starting a fire) done at a distance that travels and ultimately

makes harmful or offensive contact (bullet or fire) with a victim. The defendants’

interpretation of the Assault and Battery Exclusion ignores the policy language

and an overwhelming number of decisions applying similar exclusions to

shootings under Georgia law. See, e.g., Flowers, 644 S.E.2d at 455 (applying an


                                     Page 22 of 24
      Case 1:21-cv-03214-LMM Document 83-1 Filed 10/11/23 Page 24 of 34




assault and battery exclusion to a shooting); Eady, 502 S.E.2d at 516 (same);

Boomer’s, Inc., 486 S.E.2d at 60-61 (same); Brown, 581 S.E.2d at 342-43 (same); EJIII

Dev. Co., No. 2018 WL 3524639, at *3 (same).

      Venetian voluntarily purchased consecutive insurance policies with assault

and battery exclusions. [See Renewal Policy, Dkt. No. 81-19, at 41, 52.] Venetian

cannot credibly argue that arson and voluntary arson are covered in spite of a

sweeping Assault and Battery Exclusion.

                                  CONCLUSION

      The Failure to Maintain Exclusion applies because the Underlying

Complaint contains allegations Venetian failed to maintain the Premises in a safe

and habitable condition, and the Assault and Battery Exclusion applies because it

is undisputed Wheeler started the fire through arson that resulted in the death of

Hughes. Kinsale is entitled to enforce the terms of the policy that Venetian

voluntarily purchased and paid for. Kinsale requests an order that Kinsale does

not have a duty defend.

                                             Respectfully submitted,

                                             /s/ ANDRES CORDOVA
                                             Andres Cordova
                                             Florida Bar No. 0118147
                                             andres.cordova@clydeco.us
                                             Admitted Pro Hac Vice

                                             CLYDE & CO US LLP
                                             1221 Brickell Avenue, Suite 1600


                                   Page 23 of 24
     Case 1:21-cv-03214-LMM Document 83-1 Filed 10/11/23 Page 25 of 34




                                         Miami, Florida 33131
                                         Telephone: (305) 446-2646
                                         Fax: (305) 441-2374
                                         Counsel for Plaintiff

                                         /s/ ERIC P. BENEDICT
                                         Eric P. Benedict
                                         Georgia Bar No. 890708
                                         Eric.Benedict@clydeco.us
                                         Local Counsel

                                         CLYDE & CO US LLP
                                         271 17th Street NW
                                         Suite 1720
                                         Atlanta, GA 30363
                                         Telephone: (404) 410-3178
                                         Counsel for Plaintiff


          LOCAL RULE 7.1(D) CERTIFICATION OF COMPLIANCE

      I hereby certify that the foregoing complies with the font and point

selections approved by the Court in Local Rule 5.1(B). It is prepared in Book

Antiqua, 13-point font.

                                         /s/ANDRES CORDOVA
                                         ANDRES CORDOVA


                          CERTIFICATE OF SERVICE

      I CERTIFY that on October 11, 2023, this document was filed via the

CM/ECF system. I further certify I am unaware of any non-CM/ECF participants.

                                         /s/ANDRES CORDOVA
                                         ANDRES CORDOVA




                                Page 24 of 24
Case 1:21-cv-03214-LMM Document 83-1 Filed 10/11/23 Page 26 of 34




 EXHIBIT
    1
     Case 1:21-cv-03214-LMM Document 83-1 Filed 10/11/23 Page 27 of 34




 1                 MR. SCHARDT:   MS. WHEELER -- AND WE DISCUSSED
 2            THIS -- I THINK THE HUGHES FAMILY WOULD LIKE TO KNOW
 3            IF GEORGE HUGHES WAS THE INTENDED VICTIM OR INTENDED
 4            TARGET OF WHAT OCCURRED THAT DAY AND OF YOU LIGHTING
 5            A FIRE?
 6                 THE DEFENDANT:     NO.
 7                 MR. SCHARDT:   OKAY.      DID YOU KNOW THAT
 8            MR. HUGHES WAS EVEN IN THE UNIT THAT DAY?
 9                 THE DEFENDANT:     NO.
10                 MR. SCHARDT:   OKAY.      DID YOU INTEND TO HARM
11            ANYONE?
12                 THE DEFENDANT:     NO, SIR.
13                 THE COURT:   ALL RIGHT.      THANK YOU.   MS. WHEELER,
14            IS THERE ANYTHING ELSE YOU WANT TO SAY TO THE COURT
15            OR TO THE VICTIM'S FAMILY?
16                 THE DEFENDANT:     I WOULD LIKE TO APOLOGIZE TO
17            THEM, TO THE CHILDREN.        I DIDN'T MEAN TO HURT
18            ANYBODY.   I'M SORRY.
19                 THE COURT:   THANK YOU.      I FIND THERE TO BE A
20            FACTUAL BASIS FOR THE PLEA IN EACH OF THESE
21            INDICTMENTS, AND I WILL ACCEPT THE PLEA IN EACH CASE
22            AS KNOWINGLY, VOLUNTARILY, AND INTELLIGENTLY
23            ENTERED.
24                 I DON'T HAVE A BREAKDOWN, MR. DAILEY, OF WHAT
25            THE SENTENCE IS FOR EACH COUNT THAT'S BEEN




                                                                            23
Case 1:21-cv-03214-LMM Document 83-1 Filed 10/11/23 Page 28 of 34




 EXHIBIT
    2
    Case 1:21-cv-03214-LMM
30(b)(6)                   DocumentHills
          Deposition of Venetian    83-1 Filed 10/11/23 LLC
                                          Apartment,    Page(John
                                                             29 of 34Maughan)
                           December 18, 2019
                                                                            20

  1       don't know the circumstances, all the

  2       circumstances, but to the best of my knowledge.

  3          Q      Did Venetian Hills do any investigation

  4       with respect to the source of the fire?

 5           A      Subsequent to the fire?

  6          Q      Yes, sir.

  7          A      We provided the police with the video of

  8       the arsonist leaving the property and gave them

  9       whatever information they requested.

10           Q      Do you know what information you gave the

11        police?

12           A      I have no idea.

13           Q      Did Venetian Hills try to figure out what

14        went wrong?

15           A      Did Venetian Hills try to figure out what

16        went wrong?    Seemed to be pretty obvious that an

17        arsonist set the fire in the apartment.

18           Q      So that's not responsive to my question.

19        I'm going to move to strike it.        My question is:

20        Did Venetian Hills do anything to investigate what

21        went wrong in this case?

22           A      Only in relation to our communicating with

23        the authorities.      Certainly I'm not going to

24        duplicate their efforts.      And I don't believe --

25        you know, I'm not the manager of the place -- that




                                      AccuTran, Inc.
                                      770-426-9705
Case 1:21-cv-03214-LMM Document 83-1 Filed 10/11/23 Page 30 of 34




 EXHIBIT
    3
       Case 1:21-cv-03214-LMM Document 83-1 Filed 10/11/23 Page 31 of 34



                                                                     Page 13

 1             privilege, Venetian Hills had smoke detectors in the

 2             stairwell.     We believe that that was sufficient.

 3       BY MR. CORDOVA

 4             Q      Okay.   Now, in the underlying lawsuit, there's been a

 5       lot of discussion and we have a motions practice regarding a

 6       nonparty Kamara Wheeler, do -- do you know or are you aware of

 7       that individual?

 8             A      I'm aware that she was charged with starting the

 9       fire, yes.

10             Q      Okay.   And is Venetian Hills' position in the

11       underlying lawsuit that she did start the fire?

12             A      That's my understanding is that she did start the

13       fire, yes.

14             Q      Okay.   Do you know if Venetian is arguing in the

15       underlying lawsuit that she started the fire, perhaps to say

16       that Venetian actually wasn't negligent and she was the

17       proximate cause of the damage or what's your understanding?

18                    MR. MOFFET:    Objection to the form of the question,

19             foundation, attorney-client privilege.

20       BY MR. CORDOVA

21             Q      So do you know if Venetian Hills is arguing, in the

22       underlying action, that Kamara Wheeler started the fire?

23             A      Mr. Grantham is defending us in that action.          We're

24       just relying on him to make the arguments that he's going to

25       make.      We do know that she did start the fire.     We think she

                                    Veritext Legal Solutions
     800-726-7007                                                          305-376-8800
       Case 1:21-cv-03214-LMM Document 83-1 Filed 10/11/23 Page 32 of 34



                                                                           Page 14

 1       caused Mr. Hughes' death.        I cannot speak to Mr. Grantham on

 2       what he's going to argue.        We haven't done the trial prep yet,

 3       but those are my -- that's my understanding of the facts.

 4             Q      Okay.   To your knowledge -- well, let me ask you

 5       this:      Were you involved with the drafting of Venetian's

 6       discovery responses in the underlying lawsuit?

 7             A      Mr. Grantham drafted those.             I assisted in gathering

 8       the documents that were responsive to the request assisting Mr.

 9       Maughan in doing that.      I didn't pull documents myself out of

10       files.     I assisted Mr. Maughan and complied with discovery

11       requests.

12             Q      Okay.   Now, do you recall if you specifically

13       assisted with Venetian's responses to Hughes' requests for

14       admission in the underlying case?

15             A      I do not.   My recollection is that Mr. Grantham

16       communicated directly with Mr. Maughan on that.

17             Q      Okay.   But did you review -- did you review those

18       responses and prepare to testify about those responses today?

19             A      I have reviewed them, yes.          I'll need to look at them

20       before I testify about them, but yeah, I reviewed them.

21             Q      Okay.   Give me one moment here.           Okay.   So would you

22       happen to have a copy of those responses or do you need me to

23       share my screen?

24             A      I do not think I brought those.            Yeah, share your

25       screen if you can on that.

                                   Veritext Legal Solutions
     800-726-7007                                                            305-376-8800
       Case 1:21-cv-03214-LMM Document 83-1 Filed 10/11/23 Page 33 of 34



                                                                     Page 17

 1       allegation and the response there?

 2             A    I see the response.

 3             Q    Okay.   If you could also pull up the complaint, I

 4       suppose, to cross-reference.        And I'll go ahead and have

 5       Venetian's answer in this case marked as Exhibit 4 for the

 6       record.

 7            (Plaintiff's Exhibit No. 4 marked for identification.)

 8             A    All right.    I've reviewed it.

 9             Q    Okay.   So the response -- well, first of all, the

10       allegation in Paragraph 9 was -- that allegation is, quote, on

11       March 15th, 2017, Wheeler committed arson by setting the fire

12       at the Venetian Hills Apartments.          Could you please -- could

13       you please read the response to that allegation and the answer?

14             A    Paragraph 9 of plaintiff's complaint asserts a legal

15       conclusion to which no response is required.         To the extent

16       that the paragraph -- should say nine -- is construed to a

17       certain factual or legal allegation, these defendants are

18       without sufficient knowledge or information to either admit or

19       deny the allegations contained in Paragraph 9 of plaintiff's

20       complaint.

21             Q    So regarding the factual allegations made in

22       Paragraph 9, the response was essentially that Venetian has

23       insufficient knowledge to admit or deny?

24             A    Yeah.

25             Q    Is that fair to say?

                                  Veritext Legal Solutions
     800-726-7007                                                          305-376-8800
       Case 1:21-cv-03214-LMM Document 83-1 Filed 10/11/23 Page 34 of 34



                                                                     Page 18

 1             A    Yes.

 2             Q    Okay.    Isn't that inconsistent with Venetian's

 3       position in the underlying lawsuit that Wheeler started the

 4       fire?

 5                  MR. MOFFET:     Objection to the form of the question,

 6             foundation.

 7                  THE WITNESS:     It says what it says, but yeah, I read

 8             it as legal speak.      I do the same thing when I file

 9             answers where factual allegations that we think might be

10             true but haven't been fully proven or made, you know,

11             everything is fleshed out in the actual underlying

12             lawsuit.

13       BY MR. CORDOVA

14             Q    Correct.    But when you're answering a complaint,

15       don't you have -- well, let me rephrase.

16                  So you're saying that Venetian was responding

17       tactically or strategically, but not actually based on fact in

18       that paragraph?     I'm trying to understand your response.

19                  MR. MOFFET:     Objection to the form of the question.

20                  THE WITNESS:     We relied on our attorney to draft the

21             answer.    We understand that Kamara Wheeler was arrested

22             and charged with arson.        I think at the time -- I don't

23             remember if she has entered her plea yet or not, she may

24             have, but respectively we just relied on our attorneys to

25             answer Number 9.

                                   Veritext Legal Solutions
     800-726-7007                                                          305-376-8800
